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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


VALLEYFIELD PARTNERS, LLC,
d/b/a VALLEYFIELD
APARTMENTS and R. JAMES
PROPERTIES, INC.,
       Plaintiffs,                           CIVIL ACTION FILE
       v.                                    NO. 1:25-CV-0687-SCJ
 JAIRUS LONG and all others,
       Defendant.

                                  ORDER

      This matter is before the Court for consideration of the Final Report and

Recommendation of Magistrate Judge Linda T. Walker [Doc. 3], to which no

objections have been filed. After reviewing the Report & Recommendation, it is

received with approval and ADOPTED as the Opinion and Order of this Court.

Accordingly, this civil action is hereby REMANDED to the Magistrate Court of

DeKalb County, Georgia.

      IT IS SO ORDERED, this 13th day of March, 2025.



                                    STEVE C. JONES
                                    UNITED STATES DISTRICT JUDGE
